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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK

 JANE DOE, individually and on behalf of
 all others similarly situated,

        Plaintiff,
 v.                                               Case Number: 1:22-cv-10019-JSR

 JPMORGAN CHASE BANK, N.A.

        Defendant/Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY

        Third-Party Defendant.


 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

        Plaintiff,
 v.                                               Case Number: 1:22-cv-10904-JSR

 JPMORGAN CHASE BANK, N.A.

        Defendant/Third-Party Plaintiff,


 v.

 JAMES EDWARD STALEY

        Third-Party Defendant.



         DECLARATION OF STEPHEN L. WOHLGEMUTH IN SUPPORT OF
               THIRD-PARTY DEFENDANT JAMES STALEY’S
                   MOTION FOR SUMMARY JUDGMENT

       Pursuant to 28 U.S.C. § 1746, I, Stephen L. Wohlgemuth, declare under penalty of

perjury as follows:

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1. I am a member in good standing of the bar of the State of New York and the District of

   Columbia. I am one of the attorneys representing Third-Party Defendant James Staley in

   the above-captioned actions and have been admitted to this Court pro hac vice. I am a

   Partner with the law firm of Williams and Connolly LLP, 680 Maine Ave SW,

   Washington, DC 20024. I am familiar with the facts set forth herein, and if called as a

   witness, I could and would competently testify thereto.

2. Attached as Exhibit 1 is a true and correct copy of excerpts of the transcript from the July

   13, 2023 Deposition of JPMorgan’s 30(b)(6) witness, Francis Pearn, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

3. Attached as Exhibit 2 is a true and correct copy of excerpts of the transcript from the June

   10, 2023 Deposition of James Staley, designated confidential pursuant to the Protective

   Order in this matter and filed under seal.

4. Attached as Exhibit 3 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00935658, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

5. Attached as Exhibit 4 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00901998, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

6. Attached as Exhibit 5 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-W-00029751, designated confidential

   pursuant to the Protective Order in this matter and filed under seal.




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7. Attached as Exhibit 6 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00130162, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

8. Attached as Exhibit 7 is a true and correct copy of excerpts of the transcript from the July

   12, 2023 Deposition of Mary Erdoes, designated confidential pursuant to the Protective

   Order in this matter and filed under seal.

9. Attached as Exhibit 8 is a true and correct copy of excerpts of the transcript from the

   April 28, 2023 Deposition of Kevin McCleery, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

10. Attached as Exhibit 9 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00129133, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

11. Attached as Exhibit 10 is a true and correct copy of excerpts of the transcript from the

   May 3, 2023 Deposition of William Langford, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

12. Attached as Exhibit 11 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00128563, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

13. Attached as Exhibit 12 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00036570, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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14. Attached as Exhibit 13 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00129159, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

15. Attached as Exhibit 14 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00128937, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

16. Attached as Exhibit 15 is a true and correct copy of excerpts of the transcript from the

   May 24, 2023 Deposition of Maryanne Ryan, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

17. Attached as Exhibit 16 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00457617, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

18. Attached as Exhibit 17 is a true and correct copy of excerpts of the transcript from the

   June 11, 2023 Deposition of James Staley, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

19. Attached as Exhibit 18 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00134722, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

20. Attached as Exhibit 19 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00137008, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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21. Attached as Exhibit 20 is a true and correct copy of excerpts of the transcript from the

   May 26, 2023 Deposition of Jamie Dimon, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

22. Attached as Exhibit 21 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00029203, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

23. Attached as Exhibit 22 is a true and correct copy of excerpts of the transcript from the

   March 15, 2023 Deposition of Mary Erdoes, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

24. Attached as Exhibit 23 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00032902, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

25. Attached as Exhibit 24 is a true and correct copy of excerpts of the transcript from the

   April 21, 2023 Deposition of Justin Nelson, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

26. Attached as Exhibit 25 is a true and correct copy of excerpts of the transcript from the

   April 18, 2023 Deposition of Paul Morris, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

27. Attached as Exhibit 26 is a true and correct copy of excerpts of the transcript from the

   April 7, 2023 Deposition of Mary Casey, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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28. Attached as Exhibit 27 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00230977, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

29. Attached as Exhibit 28 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00231554, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

30. Attached as Exhibit 29 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00450001, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

31. Attached as Exhibit 30 is a true and correct copy of a document produced by Jane Doe 1,

   Bates stamped JDoe_JPMC_004535, designated confidential pursuant to the Protective

   Order in this matter and filed under seal.

32. Attached as Exhibit 31 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00208285, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

33. Attached as Exhibit 32 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00127953, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

34. Attached as Exhibit 33 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00127944, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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35. Attached as Exhibit 34 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00149784, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

36. Attached as Exhibit 35 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00229703, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

37. Attached as Exhibit 36 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00353401, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

38. Attached as Exhibit 37 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00148059, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

39. Attached as Exhibit 38 is a true and correct copy of excerpts of the transcript from the

   May 24, 2023 Deposition of Stephen Cutler, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

40. Attached as Exhibit 39 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00100305, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

41. Attached as Exhibit 40 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00152738, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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42. Attached as Exhibit 41 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00003036, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

43. Attached as Exhibit 42 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00195660, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

44. Attached as Exhibit 43 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00010816, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

45. Attached as Exhibit 44 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00100199, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

46. Attached as Exhibit 45 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00274272, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

47. Attached as Exhibit 46 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00099530, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

48. Attached as Exhibit 47 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00153179, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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49. Attached as Exhibit 48 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-W-00026305, designated confidential

   pursuant to the Protective Order in this matter and filed under seal.

50. Attached as Exhibit 49 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-W-00033761, designated confidential

   pursuant to the Protective Order in this matter and filed under seal.

51. Attached as Exhibit 50 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00136519, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

52. Attached as Exhibit 51 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00015747, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

53. Attached as Exhibit 52 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00269651, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

54. Attached as Exhibit 53 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00194154, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

55. Attached as Exhibit 54 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00025688, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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56. Attached as Exhibit 55 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00026223, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

57. Attached as Exhibit 56 is a true and correct copy of the Department of Justice’s

   Investigation into the U.S. Attorney’s Office for the Southern District of Florida’s

   Resolution of its 2006-2008 Federal Criminal Investigation of Jeffrey Epstein and Its

   Interactions with Victims During the Investigation, dated November 2020.

58. Attached as Exhibit 57 is a true and correct copy of excerpts of the transcript from the

   August 14, 2023 Deposition of JPMorgan’s 30(b)(6) witness, Francis Pearn, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

59. Attached as Exhibit 58 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00901997, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

60. Attached as Exhibit 59 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00449995, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

61. Attached as Exhibit 60 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00449996, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

62. Attached as Exhibit 61 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00920701, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.




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63. Attached as Exhibit 62 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00011896, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

64. Attached as Exhibit 63 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00013546, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

65. Attached as Exhibit 64 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-W-00000211, designated confidential

   pursuant to the Protective Order in this matter and filed under seal.

66. Attached as Exhibit 65 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00919725, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

67. Attached as Exhibit 66 is a true and correct copy of a document produced by Defendant

   JPMorgan, Bates stamped JPM-SDNYLIT-00919580, designated confidential pursuant to

   the Protective Order in this matter and filed under seal.

68. Attached as Exhibit 67 is a true and correct copy of JPMorgan Chase Bank, N.A.’s Third-

   Party Complaint Against James Edward Staley filed on March 8, 2023 in the matter of

   Government of The United States Virgin Islands v. JPMorgan Chase Bank, N.A., 1:22-cv-

   10904.

69. Attached as Exhibit 68 is a true and correct copy of JPMorgan Chase Bank, N.A.’s

   Supplemental Responses and Objections to Interrogatories in Lieu of Rule 30(b)(6)

   Deposition Testimony, dated August, 11, 2023.




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   70. Attached as Exhibit 69 is a true and correct copy of JPMorgan Chase Bank, N.A.’s

       Responses and Objections to Interrogatories in Lieu of Rule 30(b)(6) Deposition

       Testimony, dated July 12, 2023, designated confidential pursuant to the Protective Order

       in this matter and filed under seal.

   71. Attached as Exhibit 70 is a true and correct copy of JPMorgan Chase Bank, N.A.’s

       Fourth Supplemental Initial Disclosures in the matter of Government of The United States

       Virgin Islands v. JPMorgan Chase Bank, N.A., 1:22-cv-10904, dated May 30, 2023.

   72. Attached as Exhibit 71 is a true and correct copy of a document produced by Defendant

       JPMorgan, Bates stamped JPM-SDNYLIT-00136984, designated confidential pursuant to

       the Protective Order in this matter and filed under seal.

   73. Attached as Exhibit 72 is a true and correct copy of a document produced by Defendant

       JPMorgan, Bates stamped JPM-SDNYLIT-00127930, designated confidential pursuant to

       the Protective Order in this matter and filed under seal.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Dated: August 25, 2023                                       /s/ Stephen L. Wohlgemuth I

                                                             Stephen L. Wohlgemuth




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